Case 1:18-cr-00204-NGG         Document 960       Filed 10/21/20        Page 1 of 2 PageID #: 17218

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
  BDM:KKO                                             271 Cadman Plaza East
  F. #2017R01840                                      Brooklyn, New York 11201



                                                      October 21, 2020

  By ECF

  Honorable Nicholas G. Garaufis
  United State District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:      United States v. Keith Raniere
                         Criminal Docket No. 18-204 (S-2)(NGG)

  Dear Judge Garaufis:

                 The government respectfully submits the enclosed proposed general Order of
  Forfeiture (the “Proposed Order”) in connection with the sentencing of defendant Keith
  Raniere in the above-captioned case. Pursuant to Rule 32.2(b)(2)(C) of the Federal Rules of
  Criminal Procedure, the Court may enter a “general order of forfeiture” at the time of the
  defendant’s sentencing stating that such order will be amended pursuant to Rule 32.2(e)(1)
  when the amount of the money judgment has been calculated. Sentencing is currently
  scheduled for October 27, 2020.

                 By letter dated June 13, 2019, the government advised the Court and defendant
  that it would pursue entry of a forfeiture money judgment in the event of the defendant’s
  conviction at trial. (Docket Entry No. 710, Letter). Following a six-week jury trial, the
  defendant was convicted of all charges submitted to the jury, including racketeering and
  racketeering conspiracy. (Docket Entry No. 735, Verdict). In light of the Court’s entry of
  preliminary orders concerning specific assets forfeited by Raniere’s co-defendants, the only
  remaining forfeiture issue before the Court is the amount of a forfeiture money judgment to
  be imposed on Raniere. Notably, Raniere is liable for a forfeiture money judgment
  representing “any property constituting, or derived from, any proceeds which [Raniere]
  obtained, directly or indirectly, from racketeering activity . . . in violation of section 1962.”
  18 U.S.C. § 1963(a)(3).
               The government intends to seek a forfeiture money judgment based upon the
  amount of proceeds Raniere received as a result of his racketeering activities. Specifically,
  the government is reviewing bank records for an account held by First Principles
Case 1:18-cr-00204-NGG        Document 960         Filed 10/21/20   Page 2 of 2 PageID #: 17219




  Incorporated to determine the amount of deposits that represent Raniere’s royalties and fees
  paid by Nxivm affiliates. The government proposes that its calculation of the forfeiture
  money judgment amount be submitted no later than November 10, 2020.
              Accordingly, the government respectfully requests that the Court so-order the
  Proposed Order.

                                                      Respectfully submitted,

                                                      SETH D. DUCHARME
                                                      Acting United States Attorney

                                             By:        /s/
                                                      Karin Orenstein
                                                      Assistant U.S. Attorney
                                                      (718) 254-6188

  Enclosure: Proposed Order of Forfeiture

  Cc:    Counsel of Record (by ECF)




                                                2
